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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION

In re Real Estate Commission Litigation                     MDL-__________________



                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion, Brief, Schedule of Actions, Exhibits,

and this Certificate of Service were served by first class mail on December 27, 2023 (or will be

served by first class mail on December 28, 2023, to the extent that not all copies can be mailed on

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       Defendant: eXp World Holdings, Inc.
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       Santa Rosa, CA 95401

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       San Rafael, CA 94903

       Defendant: North Bay Association of Realtors
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       475 Aviation Blvd., Suite 220
       Santa Rosa, CA 95403

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Defendant: Ansley Atlanta Real Estate, LLC
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N.D. Georgia, No. 1:23-cv-05392-SEG
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Defendant: Solid Source Realty
N.D. Georgia, No. 1:23-cv-05392-SEG
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N.D. Georgia, No. 1:23-cv-05392-SEG
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Atlanta, Georgia, 30305

Defendant: Higher Tech Realty, LLC d/b/a Mark Spain Real Estate
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Defendant: Hamilton Dorsey Alston Company, Inc.
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4401 NORTHSIDE PKWY STE 400
ATLANTA, GA, 30327
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New York, New York, 10020


Defendant: Engel & Volkers Americas, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
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N.D. Georgia, No. 1:23-cv-05392-SEG
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Defendant: EXP World Holdings, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
2219 Rimland Dr Ste 301
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Defendant: Redfin Corporation
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Defendant: Beacham & Company, LLC
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Defendant: eXp Realty, LLC
W.D. Missouri, Case No. TBD (Umpa action)
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Defendant: Redfin Corporation
W.D. Missouri, Case No. TBD (Umpa action)
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Defendant: United Real Estate
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E.D. Texas, No. 4:23-cv-01013-SDJ
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E.D. Texas, No. 4:23-cv-01104-SDJ

Defendant: Texas Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
1115 San Jacinto Blvd Ste 200
Austin, Texas, 78701

Defendant: Austin Board of Realtors
E.D. Texas, No. 4:23-cv-01104-SDJ
4800 Spicewood Springs Rd
Austin, TX 78759

Defendant: San Antonio Board of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
9110 IH-10 W
San Antonio, TX 78230

Defendant: Metrotex Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
1701 Kinwest Parkway
 Irving, TX 75063

Defendant: Houston Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
3693 Southwest Fwy
Houston, Texas, 77027

Defendant: Greater El Paso Association of Realtors
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E.D. Texas, No. 4:23-cv-01104-SDJ
6400 Gateway East
El Paso, TX 79905

Defendant: Greater Fort Worth Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
2650 Parkview Drive
Fort Worth, TX 76102

Defendant: Fort Hood Area Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
306 W Mary Jane Dr.
Killeen, TX 76541

Defendant: Four Rivers Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
936 Gruene Rd
New Braunfels, TX 78130

Defendant: Temple-Belton Board of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
2703 Exchange Plz
Temple, Texas, 76504

Defendant: Victoria Area Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
2906 E Airline Rd.
Victoria, Tx 77901

Defendant: Williamson County Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
123 E Old Settlers Blvd.
Round Rock, TX 78664

Defendant: Austin/Central Texas Realty Information Service
E.D. Texas, No. 4:23-cv-01104-SDJ
10900 Stonelake Boulevard, Suite A-100
Austin, TX 78759

Defendant: Central Texas Multiple Listing Service, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
14150 Pebble Hills Blvd Ste B
El Paso, Texas, 79938

Defendant: Houston Realtors Information Service, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
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26511 Oak Ridge Dr
The Woodlands, Texas, 77380

Defendant: North Texas Real Estate Information Systems, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
1950 N Stemmons Fwy Ste 3018
Dallas, Texas, 75207

Defendant: ABA Management, L.L.C.
E.D. Texas, No. 4:23-cv-01104-SDJ
5015 Tracy St #102
Dallas, TX 75205

Defendant: Penfed Realty, LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
2930 Eisenhower Ave Alexandria
Virginia, 22314

Defendant: Ebby Halliday Real Estate, LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
5560 Tennyson Pkwy., Suite 100
Plano, TX, 75024

Defendant: The Dave Perry-Miller Company
E.D. Texas, No. 4:23-cv-01104-SDJ
5950 Berkshire Ln Ste 100
Dallas, Texas, 75225

Defendant: Keller Williams Realty, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
1221 S Mopac Expy Ste 110
Austin, Texas, 78746

Defendant: Heyl Group Holdings LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
1001 S Capital of Texas I Hwy Bldg Ste 100
Austin, Texas, 78746

Defendant: The Loken Group, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
11037 Fm 1960 Rd W Ste A1
Houston, Texas, 77065

Defendant: Hexagon Group, LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
501 W George Bush Frwy Ste 125
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Richardson, Texas, 75080

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E.D. Texas, No. 4:23-cv-01104-SDJ
1617 West 6th Street, Suite C
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Defendant: Keller Willis San Antonio, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
10999 W Ih 10 Ste 175
San Antonio, TX 78230-1349

Defendant: San Antonio Legacy Group, LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
1102 E SONTERRA BLVD STE 106
San Antonio, TX 78258

Defendant: DSJMM, LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
8344 Spring Cypress Rd Ste B
Spring, Texas, 77379

Defendant: Fathom Realty, LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
2000 Regency Pkwy Ste 300
Cary, North Carolina, 27518

Defendant: Grace Realty Group LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
6841 Virginia Pkwy Ste 103
McKinney, Texas, 75071

Defendant: Side, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
580 4th Street
San Francisco, CA 94107

Defendant: Citiquest Properties, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
6807 Wynnwood Ln
Houston, Texas, 77008

Defendant: Homeservices of America, Inc.
E.D. Texas, No. 4:23-cv-01104-SDJ
6800 France Avenue, Suite 610
Edina, Minnesota 55435
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Defendant: JP PICCININI REAL ESTATE SERVICES, LLC
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11891 Frg Dr
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Defendant: Team Burns, LLC
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Defendant: ABRE Capital LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
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Defendant: Realty Austin, LLC
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3801 N Capital of Texas Hwy
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Defendant: ATX Wir LLC
E.D. Texas, No. 4:23-cv-01104-SDJ
3307 NORTHLAND DR
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Defendant: The Michael Group LLC
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10300 N Central Expy 220
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Defendant: Square MB, LLC
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6400 IMPERIAL DR
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      15010 FM 2100 Rd
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      Defendant: Moreland Properties, Inc.
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      3825 Lake Austin Blvd #501
      Austin, TX 78703

      Defendant: Real Agent LLC
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      Defendant: RFT Enterprises, Inc.
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